                                  Case 18-12456-gs     Doc 249     Entered 02/01/21 17:03:11       Page 1 of 9



                              1   Kevin W. Coleman (CA SBN 168538)
                                  Admitted pro hac vice
                              2   Christopher H. Hart (CA SBN 184117)
                                  Admitted pro hac vice
                              3   NUTI HART LLP
                                  411 30TH Street, Suite 408
                              4   Oakland, CA 94609-3311
                                  Telephone: 510-506-7152
                              5   Email: kcoleman@nutihart.com
                                         chart@nutihart.com
                              6
                                  Talitha Gray Kozlowski (NV SBN 9040)
                              7   GARMAN TURNER GORDON LLP
                                  7251 Amigo Street, Suite 210
                              8   Las Vegas, NV 89119
                              9   Telephone: 725-777-3000
                                  Email: tgray@gtg.legal
                             10
                                  Counsel for Kavita Gupta,
                             11   Chapter 11 Trustee

                             12                         UNITED STATES BANKRUPTCY COURT

                             13                                   DISTRICT OF NEVADA

                             14 In re:                                             Case No.: BK-S-18-12456 GS
411 30TH STREET, SUITE 408

TELEPHONE: 510.506.7152
 OAKLAND, CA 94609-3311
    NUTI HART LLP




                             15 DESERT OASIS APARTMENTS, LLC,                      Chapter 11
                             16                       Debtor.                      Confirmation Hearing:
                             17                                                    Date: March 11, 2021
                                                                                   Time: 1:30 p.m.
                             18
                                                                CERTIFICATE OF SERVICE
                             19
                                         1.    On January 28, 2021, I served the following documents:
                             20
                                                         Disclosure Statement for Chapter 11 Trustee Kavita      Dkt. No. 243
                             21                 a.       Gupta’s Joint Plan of Liquidation

                             22
                                                         Order: (A) Conditionally Approving the Disclosure       Dkt. No. 244
                             23                 b.       Statement for the Chapter 11 Trustee Kavita Gupta’s
                                                         Joint Plan of Liquidation; and (B) (i) Setting
                             24                          Deadlines for Balloting and Opposing Confirmation
                                                         of Joint Plan of Liquidation and Final Approval of
                             25                          Disclosure Statement; (ii) Approving Form of
                                                         Ballots; (iii) Approving Solicitation and Voting
                             26                          Procedures; and (iv) Setting Confirmation Hearing
                                                         on the Plan
                             27                          Notice of: (i) Hearing to Consider Final Approval of    Dkt. No. 247
                                                c.       Conditionally Approved Disclosure Statement and
                             28                          Confirmation of Chapter 11 Trustee Kavita Gupta’s


                                                                               1
                                  Case 18-12456-gs            Doc 249     Entered 02/01/21 17:03:11        Page 2 of 9



                              1                                Joint Plan of Liquidation; (ii) Procedures for
                                                               Objecting to Final Approval of Conditionally
                              2                                Approved Disclosure Statement and Confirmation of
                                                               the Plan; and (iii) Procedures and Deadlines for
                              3                                Voting on the Plan

                              4
                                         2.       I served the above-named document(s) by the following means to the persons as
                              5
                                  listed below:
                              6

                              7                   a.        By direct email:
                                                              I caused the document(s) to be sent to the persons at the email addresses
                              8                               listed below. I did not receive within a reasonable time after the
                                                              transmission, any electronic message or other indication that the
                              9                               transmission was unsuccessful.
                             10                         Attorneys for the Northern Trust        Chapter 7 trustee for SkyVue Las
                                                        Company:                                Vegas LLC;
                             11                         creece@fclaw.com                        brian@trusteeshapiro.com
                             12                         aaustin@fclaw.com

                             13
                                                        Attorneys for Debtors:                 Edward.M.McDonald@usdoj.gov
                             14                         LSchwartzer@s-mlaw.com
411 30TH STREET, SUITE 408

TELEPHONE: 510.506.7152
 OAKLAND, CA 94609-3311
    NUTI HART LLP




                             15

                             16          3.       On January 28, 2021, I served the following documents:
                             17                                Disclosure Statement for Chapter 11 Trustee Kavita        Dkt. No. 243
                                                       a.      Gupta’s Joint Plan of Liquidation
                             18

                             19                                Order: (A) Conditionally Approving the Disclosure         Dkt. No. 244
                                                       b.      Statement for the Chapter 11 Trustee Kavita Gupta’s
                             20                                Joint Plan of Liquidation; and (B) (i) Setting
                                                               Deadlines for Balloting and Opposing Confirmation
                             21                                of Joint Plan of Liquidation and Final Approval of
                                                               Disclosure Statement; (ii) Approving Form of
                             22                                Ballots; (iii) Approving Solicitation and Voting
                                                               Procedures; and (iv) Setting Confirmation Hearing
                             23                                on the Plan
                             24                                Notice of: (i) Hearing to Consider Final Approval of      Dkt. No. 247
                                                       c.      Conditionally Approved Disclosure Statement and
                             25                                Confirmation of Chapter 11 Trustee Kavita Gupta’s
                                                               Joint Plan of Liquidation; (ii) Procedures for
                             26                                Objecting to Final Approval of Conditionally
                                                               Approved Disclosure Statement and Confirmation of
                             27                                the Plan; and (iii) Procedures and Deadlines for
                                                               Voting on the Plan
                             28



                                                                                      2
                                  Case 18-12456-gs          Doc 249     Entered 02/01/21 17:03:11        Page 3 of 9



                              1                              Class 2 Ballot for Accepting or Rejecting Chapter 11
                                                     d.      Trustee Kavita Gupta’s Joint Plan of Liquidation
                              2

                              3         4.      I served the above-named document(s) by the following means to the persons as
                              4 listed below:

                              5
                                                a.         By direct email:
                              6                             I caused the document(s) to be sent to the persons at the email addresses
                                                            listed below. I did not receive within a reasonable time after the
                              7                             transmission, any electronic message or other indication that the
                                                            transmission was unsuccessful.
                              8
                                                      Attorneys for Brad Busbin, Trustee
                              9                       of the Gonzales Charitable
                                                      Reminder Unitrust One:
                             10                       Fischerlawcal@aol.com
                             11                       mwray@markwraylaw.com

                             12

                             13         5.      On January 28, 2021 I served the following documents:

                             14                              Disclosure Statement for Chapter 11 Trustee Kavita        Dkt. No. 243
411 30TH STREET, SUITE 408

TELEPHONE: 510.506.7152
 OAKLAND, CA 94609-3311




                                                     a.      Gupta’s Joint Plan of Liquidation
    NUTI HART LLP




                             15

                             16                              Order: (A) Conditionally Approving the Disclosure         Dkt. No. 244
                                                     b.      Statement for the Chapter 11 Trustee Kavita Gupta’s
                             17                              Joint Plan of Liquidation; and (B) (i) Setting
                                                             Deadlines for Balloting and Opposing Confirmation
                             18                              of Joint Plan of Liquidation and Final Approval of
                                                             Disclosure Statement; (ii) Approving Form of
                             19                              Ballots; (iii) Approving Solicitation and Voting
                                                             Procedures; and (iv) Setting Confirmation Hearing
                             20                              on the Plan
                                                             Notice of: (i) Hearing to Consider Final Approval of      Dkt. No. 247
                             21                      c.      Conditionally Approved Disclosure Statement and
                                                             Confirmation of Chapter 11 Trustee Kavita Gupta’s
                             22                              Joint Plan of Liquidation; (ii) Procedures for
                                                             Objecting to Final Approval of Conditionally
                             23                              Approved Disclosure Statement and Confirmation of
                                                             the Plan; and (iii) Procedures and Deadlines for
                             24                              Voting on the Plan
                             25                              Class 5 Ballot for Accepting or Rejecting Chapter 11
                                                     d.      Trustee Kavita Gupta’s Joint Plan of Liquidation
                             26

                             27         6.      I served the above-named document(s) by the following means to the persons as
                             28 listed below:



                                                                                    3
                                  Case 18-12456-gs          Doc 249     Entered 02/01/21 17:03:11        Page 4 of 9



                              1
                                                a.         By direct email:
                              2
                                                            I caused the document(s) to be sent to the persons at the email addresses
                              3                             listed below. I did not receive within a reasonable time after the
                                                            transmission, any electronic message or other indication that the
                              4                             transmission was unsuccessful.
                                                      Attorneys for Jeffrey I. Golden,
                              5                       Chapter 11 trustee for Desert Land
                                                      LLC:
                              6
                                                      jbregman@bg.law
                              7                       sseflin@bg.law
                              8

                              9
                                        7.      On January 26, 2021 I served the following documents:
                             10
                                                             Chapter 11 Trustee Kavita Gupta’s Joint Plan of           Dkt. No. 239
                             11                      a.      Liquidation
                             12
                                                             Ex-Parte Motion for Order: (A) conditionally              Dkt. No. 241
                             13                      b.      Approving Disclosure Statement for Chapter 11
                                                             Trustee Kavita Gupta’s Joint Plan f Liquidation; and
                             14                              (B) (I) Setting Deadlines for Balloting and Opposing
411 30TH STREET, SUITE 408

TELEPHONE: 510.506.7152
 OAKLAND, CA 94609-3311




                                                             Confirmation of Plan of Liquidation and Final
    NUTI HART LLP




                             15                              Approval of Disclosure Statement; (II) Approving
                                                             Form of Ballots; (III) Approving Solicitation and
                             16                              Voting Procedures; and (IV) Setting the Hearing on
                                                             Confirmation of the Pan
                             17
                                                             LR 3017 Certification of Kevin W. Coleman in              Dkt. No. 242
                             18                      c.      Support of Ex-Parte Motion for Order: (A)
                                                             conditionally Approving Disclosure Statement for
                             19                              Chapter 11 Trustee Kavita Gupta’s Joint Plan f
                                                             Liquidation; and (B) (I) Setting Deadlines for
                             20                              Balloting and Opposing Confirmation of Plan of
                                                             Liquidation and Final Approval of Disclosure
                             21                              Statement; (II) Approving Form of Ballots; (III)
                                                             Approving Solicitation and Voting Procedures; and
                             22                              (IV) Setting the Hearing on Confirmation of the Pan

                             23

                             24         8.      I served the above-named document(s) by the following means to the persons as

                             25 listed below:

                             26
                                                a.        ECF System: 18-12456-gs Notice will be electronically mailed to:
                             27
                                ANTHONY W. AUSTIN on behalf of Creditor THE NORTHERN TRUST COMPANY
                             28 aaustin@fclaw.com, gkbacon@fclaw.com



                                                                                    4
                                 Case 18-12456-gs    Doc 249    Entered 02/01/21 17:03:11   Page 5 of 9



                              1 DAWN M. CICA on behalf of Defendant DAVID GAFFIN
                                dcica@carlyoncica.com,
                              2 nrodriguez@carlyoncica.com;crobertson@carlyoncica.com;dmcica@gmail.com;dcica@carlyonc
                                ica.com;tosteen@carlyoncica.com;3342887420@filings.docketbird.com
                              3
                                DAWN M. CICA on behalf of Defendant HOWARD BULLOCH
                              4 dcica@carlyoncica.com,
                                nrodriguez@carlyoncica.com;crobertson@carlyoncica.com;dmcica@gmail.com;dcica@carlyonc
                              5 ica.com;tosteen@carlyoncica.com;3342887420@filings.docketbird.com
                                DAWN M. CICA on behalf of Interested Party DAVID GAFFIN
                              6 dcica@carlyoncica.com,
                                nrodriguez@carlyoncica.com;crobertson@carlyoncica.com;dmcica@gmail.com;dcica@carlyonc
                              7 ica.com;tosteen@carlyoncica.com;3342887420@filings.docketbird.com

                              8 DAWN M. CICA on behalf of Interested Party HOWARD BULLOCH
                                dcica@carlyoncica.com,
                              9 nrodriguez@carlyoncica.com;crobertson@carlyoncica.com;dmcica@gmail.com;dcica@carlyonc
                                ica.com;tosteen@carlyoncica.com;3342887420@filings.docketbird.com
                             10
                                KEVIN W COLEMAN on behalf of Plaintiff KAVITA GUPTA
                             11 kcoleman@nutihart.com, nwhite@nutihart.com

                             12 KEVIN W COLEMAN on behalf of Trustee KAVITA GUPTA
                                kcoleman@nutihart.com, nwhite@nutihart.com
                             13 JAMIE P. DREHER on behalf of Petitioning Creditor BRADLEY J. BUSBIN, AS TRUSTEE
                                OF THE GONZALES CHARITABLE REMAINDER UNITRUST ONE
                             14 jdreher@downeybrand.com, mfrazier@downeybrand.com
411 30TH STREET, SUITE 408

TELEPHONE: 510.506.7152
 OAKLAND, CA 94609-3311
    NUTI HART LLP




                             15 KIMBERLY S. FINEMAN on behalf of Trustee KAVITA GUPTA
                                kfineman@nutihart.com
                             16
                                EDMUND GEE on behalf of U.S. Trustee U.S. TRUSTEE - LV - 11, 11
                             17 edmund.gee@usdoj.gov

                             18 NEDDA GHANDI on behalf of Special Counsel GAIL S. GREENWOOD
                                nedda@ghandilaw.com,
                             19 lks@ghandilaw.com,nedda@ecf.inforuptcy.com;r41525@notify.bestcase.com,mr@ghandilaw.c
                                om,shara@ghandilaw.com
                             20 NEDDA GHANDI on behalf of Special Counsel JOHN D. FIERO
                                nedda@ghandilaw.com,
                             21 lks@ghandilaw.com,nedda@ecf.inforuptcy.com;r41525@notify.bestcase.com,mr@ghandilaw.c
                                om,shara@ghandilaw.com
                             22
                                NEDDA GHANDI on behalf of Trustee KAVITA GUPTA
                             23 nedda@ghandilaw.com,
                                lks@ghandilaw.com,nedda@ecf.inforuptcy.com;r41525@notify.bestcase.com,mr@ghandilaw.c
                             24 om,shara@ghandilaw.com

                             25 TALITHA B. GRAY KOZLOWSKI on behalf of Plaintiff KAVITA GUPTA
                                tgray@gtg.legal, bknotices@gtg.legal
                             26
                                STEVEN T GUBNER on behalf of Interested Party JEFFREY I. GOLDEN, TRUSTEE OF
                             27 DESERT LAND
                                sgubner@bg.law, ecf@bg.law
                             28



                                                                          5
                                  Case 18-12456-gs    Doc 249    Entered 02/01/21 17:03:11    Page 6 of 9



                              1 EDWARD M. MCDONALD on behalf of U.S. Trustee U.S. TRUSTEE - LV - 11, 11
                                edward.m.mcdonald@usdoj.gov
                              2
                                TRACY M. O'STEEN on behalf of Defendant 10181 PARK RUN LLC
                              3 tosteen@carlyoncica.com,
                                crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
                              4 TRACY M. O'STEEN on behalf of Defendant COMPASS INVESTMENTS LLC
                                tosteen@carlyoncica.com,
                              5 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com

                              6 TRACY M. O'STEEN on behalf of Defendant THE RANCH LLC
                                tosteen@carlyoncica.com,
                              7 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com

                              8 TRACY M. O'STEEN on behalf of Defendant DAVID GAFFIN
                                tosteen@carlyoncica.com,
                              9 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com

                             10 TRACY M. O'STEEN on behalf of Defendant HOWARD BULLOCH
                                tosteen@carlyoncica.com,
                             11 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
                                TRACY M. O'STEEN on behalf of Interested Party CITATION FINANCIAL, LLC,
                             12 tosteen@carlyoncica.com,
                                crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
                             13
                                TRACY M. O'STEEN on behalf of Interested Party COMPASS INVESTMENTS HOLDINGS,
                             14 LLC
411 30TH STREET, SUITE 408

TELEPHONE: 510.506.7152
 OAKLAND, CA 94609-3311




                                tosteen@carlyoncica.com,
    NUTI HART LLP




                             15 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com

                             16 TRACY M. O'STEEN on behalf of Interested Party DESERT LAND LOAN ACQUISITION,
                                LLC
                             17 tosteen@carlyoncica.com,
                                crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
                             18
                                TRACY M. O'STEEN on behalf of Interested Party DAVID GAFFIN
                             19 tosteen@carlyoncica.com,
                                crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
                             20 TRACY M. O'STEEN on behalf of Interested Party HOWARD BULLOCH
                                tosteen@carlyoncica.com,
                             21 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com

                             22 ERIC R OLSEN on behalf of Interested Party WASH MULTIFAMILY LAUNDRY SYSTEMS,
                                LLC
                             23 eolsen@gtg.legal

                             24 LENARD E. SCHWARTZER on behalf of Debtor DESERT OASIS APARTMENTS, LLC
                                bkfilings@s-mlaw.com
                             25
                                U.S. TRUSTEE - LV - 11, 11
                             26 USTPRegion17.lv.ecf@usdoj.gov

                             27
                                MARK M. WEISENMILLER on behalf of Interested Party WASH MULTIFAMILY
                             28 LAUNDRY SYSTEMS, LLC
                                mweisenmiller@gtg.legal, bknotices@gtg.legal


                                                                           6
                                  Case 18-12456-gs           Doc 249     Entered 02/01/21 17:03:11      Page 7 of 9



                              1 MARK WRAY on behalf of Petitioning Creditor BRADLEY J. BUSBIN, AS TRUSTEE
                                OF THE GONZALES CHARITABLE REMAINDER UNITRUST ONE
                              2 mwray@markwraylaw.com, kmena@markwraylaw.com

                              3          9.       On January 28, 2021 I served the following documents:
                              4                               Disclosure Statement to Accompany Chapter 11            Dkt. No. 243
                                                       a.     Trustee Kavita Gupta’s Joint Plan of Liquidation
                              5

                              6                               Notice of: (i) Hearing to Consider Final Approval of    Dkt. No. 247
                                                       b.     Conditionally Approved Disclosure Statement and
                              7                               Confirmation of Chapter 11 Trustee Kavita Gupta’s
                                                              Joint Plan of Liquidation; (ii) Procedures for
                              8                               Objecting to Final Approval of Conditionally
                                                              Approved Disclosure Statement and Confirmation of
                              9                               the Plan; and (iii) Procedures and Deadlines for
                                                              Voting on the Plan
                             10

                             11
                                         10.      I served the above-named document(s) by the following means to the persons as
                             12
                                  listed below:
                             13

                             14                   a.        ECF System: 18-12456-gs Notice will be electronically mailed to:
411 30TH STREET, SUITE 408

TELEPHONE: 510.506.7152
 OAKLAND, CA 94609-3311
    NUTI HART LLP




                             15 ANTHONY W. AUSTIN on behalf of Creditor THE NORTHERN TRUST COMPANY
                                aaustin@fclaw.com, gkbacon@fclaw.com
                             16 DAWN M. CICA on behalf of Defendant DAVID GAFFIN
                                dcica@carlyoncica.com,
                             17 nrodriguez@carlyoncica.com;crobertson@carlyoncica.com;dmcica@gmail.com;dcica@carlyonc
                                ica.com;tosteen@carlyoncica.com;3342887420@filings.docketbird.com
                             18
                                DAWN M. CICA on behalf of Defendant HOWARD BULLOCH
                             19 dcica@carlyoncica.com,
                                nrodriguez@carlyoncica.com;crobertson@carlyoncica.com;dmcica@gmail.com;dcica@carlyonc
                             20 ica.com;tosteen@carlyoncica.com;3342887420@filings.docketbird.com

                             21 DAWN M. CICA on behalf of Interested Party DAVID GAFFIN
                                dcica@carlyoncica.com,
                             22 nrodriguez@carlyoncica.com;crobertson@carlyoncica.com;dmcica@gmail.com;dcica@carlyonc
                                ica.com;tosteen@carlyoncica.com;3342887420@filings.docketbird.com
                             23
                                DAWN M. CICA on behalf of Interested Party HOWARD BULLOCH
                             24 dcica@carlyoncica.com,
                                nrodriguez@carlyoncica.com;crobertson@carlyoncica.com;dmcica@gmail.com;dcica@carlyonc
                             25 ica.com;tosteen@carlyoncica.com;3342887420@filings.docketbird.com

                             26 KEVIN W COLEMAN on behalf of Plaintiff KAVITA GUPTA
                                kcoleman@nutihart.com, nwhite@nutihart.com
                             27 KEVIN W COLEMAN on behalf of Trustee KAVITA GUPTA
                                kcoleman@nutihart.com, nwhite@nutihart.com
                             28



                                                                                    7
                                 Case 18-12456-gs     Doc 249    Entered 02/01/21 17:03:11    Page 8 of 9



                              1 JAMIE P. DREHER on behalf of Petitioning Creditor BRADLEY J. BUSBIN, AS TRUSTEE
                                OF THE GONZALES CHARITABLE REMAINDER UNITRUST ONE
                              2 jdreher@downeybrand.com, mfrazier@downeybrand.com

                              3 KIMBERLY S. FINEMAN on behalf of Trustee KAVITA GUPTA
                                kfineman@nutihart.com
                              4 EDMUND GEE on behalf of U.S. Trustee U.S. TRUSTEE - LV - 11, 11
                                edmund.gee@usdoj.gov
                              5
                                NEDDA GHANDI on behalf of Special Counsel GAIL S. GREENWOOD
                              6 nedda@ghandilaw.com,
                                lks@ghandilaw.com,nedda@ecf.inforuptcy.com;r41525@notify.bestcase.com,mr@ghandilaw.c
                              7 om,shara@ghandilaw.com

                              8 NEDDA GHANDI on behalf of Special Counsel JOHN D. FIERO
                                nedda@ghandilaw.com,
                              9 lks@ghandilaw.com,nedda@ecf.inforuptcy.com;r41525@notify.bestcase.com,mr@ghandilaw.c
                                om,shara@ghandilaw.com
                             10
                                NEDDA GHANDI on behalf of Trustee KAVITA GUPTA
                             11 nedda@ghandilaw.com,
                                lks@ghandilaw.com,nedda@ecf.inforuptcy.com;r41525@notify.bestcase.com,mr@ghandilaw.c
                             12 om,shara@ghandilaw.com
                                TALITHA B. GRAY KOZLOWSKI on behalf of Plaintiff KAVITA GUPTA
                             13 tgray@gtg.legal, bknotices@gtg.legal

                             14 STEVEN T GUBNER on behalf of Interested Party JEFFREY I. GOLDEN, TRUSTEE OF
411 30TH STREET, SUITE 408

TELEPHONE: 510.506.7152
 OAKLAND, CA 94609-3311




                                DESERT LAND
    NUTI HART LLP




                             15 sgubner@bg.law, ecf@bg.law

                             16 EDWARD M. MCDONALD on behalf of U.S. Trustee U.S. TRUSTEE - LV - 11, 11
                                edward.m.mcdonald@usdoj.gov
                             17
                                TRACY M. O'STEEN on behalf of Defendant 10181 PARK RUN LLC
                             18 tosteen@carlyoncica.com,
                                crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
                             19 TRACY M. O'STEEN on behalf of Defendant COMPASS INVESTMENTS LLC
                                tosteen@carlyoncica.com,
                             20 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com

                             21 TRACY M. O'STEEN on behalf of Defendant THE RANCH LLC
                                tosteen@carlyoncica.com,
                             22 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com

                             23 TRACY M. O'STEEN on behalf of Defendant DAVID GAFFIN
                                tosteen@carlyoncica.com,
                             24 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com

                             25 TRACY M. O'STEEN on behalf of Defendant HOWARD BULLOCH
                                tosteen@carlyoncica.com,
                             26 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com

                             27 TRACY M. O'STEEN on behalf of Interested Party CITATION FINANCIAL, LLC,
                                tosteen@carlyoncica.com,
                             28 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com



                                                                            8
                                  Case 18-12456-gs    Doc 249    Entered 02/01/21 17:03:11   Page 9 of 9



                              1 TRACY M. O'STEEN on behalf of Interested Party COMPASS INVESTMENTS HOLDINGS,
                                LLC
                              2 tosteen@carlyoncica.com,
                                crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
                              3
                                TRACY M. O'STEEN on behalf of Interested Party DESERT LAND LOAN ACQUISITION,
                              4 LLC
                                tosteen@carlyoncica.com,
                              5 crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
                                TRACY M. O'STEEN on behalf of Interested Party DAVID GAFFIN
                              6 tosteen@carlyoncica.com,
                                crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
                              7
                                TRACY M. O'STEEN on behalf of Interested Party HOWARD BULLOCH
                              8 tosteen@carlyoncica.com,
                                crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
                              9
                                ERIC R OLSEN on behalf of Interested Party WASH MULTIFAMILY LAUNDRY SYSTEMS,
                             10 LLC
                                eolsen@gtg.legal
                             11
                                LENARD E. SCHWARTZER on behalf of Debtor DESERT OASIS APARTMENTS, LLC
                             12 bkfilings@s-mlaw.com
                                U.S. TRUSTEE - LV - 11, 11
                             13 USTPRegion17.lv.ecf@usdoj.gov

                             14
411 30TH STREET, SUITE 408

TELEPHONE: 510.506.7152
 OAKLAND, CA 94609-3311




                                MARK M. WEISENMILLER on behalf of Interested Party WASH MULTIFAMILY
    NUTI HART LLP




                             15 LAUNDRY SYSTEMS, LLC
                                mweisenmiller@gtg.legal, bknotices@gtg.legal
                             16
                                MARK WRAY on behalf of Petitioning Creditor BRADLEY J. BUSBIN, AS TRUSTEE
                             17 OF THE GONZALES CHARITABLE REMAINDER UNITRUST ONE
                                mwray@markwraylaw.com, kmena@markwraylaw.com
                             18
                                      I declare under penalty of perjury that the foregoing is true and correct.
                             19
                                      DATED this1st day of February 2021.
                             20

                             21
                                                                               /s/ Vicki DiMaio
                             22                                                Vicki DiMaio, an employee of
                                                                               Garman Turner Gordon LLP
                             23

                             24

                             25

                             26

                             27

                             28



                                                                           9
